                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION

ROBERT B. LOVE, M.D.,                     )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )                 FILED UNDER RESTRICTION
                                          )
MEDICAL COLLEGE OF WISCONSIN, INC.,       )                 Case No. 2:15-cv-00650-WED
FROEDTERT MEMORIAL LUTHERAN               )
HOSPITAL, INC.,                           )
ALFRED C. NICOLOSI, M.D.,                 )
JOSEPH E. KERSCHNER, M.D.,                )
MARY A. PAPP, D.O.,                       )
DAVID C. WARLTIER, M.D., and              )
LARRY LINDENBAUM, M.D.,                   )
                                          )
                  Defendants.             )
_________________________________________ )

  PLAINTIFF’S MOTION FOR LEAVE TO FILE SUR-REPLY MEMORANDUM OF
 LAW IN OPPOSITION TO DEFENDANTS’ COMBINED MOTION FOR JUDGMENT
   ON THE PLEADINGS AS TO COUNTS I, II, III, IV AND VIII AND TO STRIKE
                  ALLEGATIONS REGARDING COUNT I

       Plaintiff, Robert B. Love, M.D. (“Dr. Love”), by and through his undersigned attorneys,

respectfully moves the Court, under Local Rule 7(i), for leave to file the attached Sur-Reply

Memorandum of Law in Opposition to the Combined Motion for Judgment on the Pleadings as to

Counts I, II, III, IV and VIII and to Strike Allegations Regarding Count I (the “Combined Motion”)

filed by Defendants, Medical College of Wisconsin, Inc. (“MCW”), Alfred C. Nicolosi, M.D. (“Dr.

Nicolosi”), Jospeh E. Kerschner, M.D. (“Dr. Kerschner”), Mary A. Papp, D.O. (“Dr. Papp”),

David C. Warltier, M.D. (“Dr. Warltier”), and Larry Lindenbaum, M.D. (“Dr. Lindenbaum”)

(collectively, the “MCW Defendants”). In support of his Motion, Dr. Love states as follows:




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       1.      On August 14, 2015, the MCW Defendants filed the Combined Motion and a

Memorandum of Law in support thereof. (Dkt. 21-22.)

       2.      On September 14, 2015, Dr. Love filed a Memorandum of Law in opposition to the

Combined Motion. (Dkt. 34.)

       3.      On September 28, 2015, the MCW Defendants filed a Reply Brief in support of the

Combined Motion. (Dkt. 36.)

       4.      In the Reply Brief, the MCW Defendants raise two new arguments they did not

previously raise in their Combined Motion and supporting Memorandum of Law. Specifically,

the MCW Defendants argue for the first time in their Reply Brief that the Separation Agreement

between Dr. Love and MCW is actually a “Settlement Agreement” and that Dr. Love failed to

allege in the Complaint that he was on administrative leave. (Dkt. 36 at 2-4, 8-9.)

       5.      Dr. Love is entitled to file a sur-reply brief to address those new arguments. See,

e.g., S.C. Johnson & Son, Inc. v. Nutraceutical Corp., No. 11-C-861, 2014 U.S. Dist. LEXIS 4549,

at *5 (E.D. Wis. Jan. 14, 2014); Matthews v. Waukesha Cnty., No. 10-C-440, 2012 U.S. Dist.

LEXIS 27486, at *7 (E.D. Wis. Mar. 1, 2012).

       6.      Dr. Love offers a concise response to the MCW Defendants’ new arguments in his

proposed Sur-Reply Memorandum of Law that comprises less than four pages of text.

       7.      If the Court were to deny Dr. Love leave to file his proposed Sur-Reply, he would

be prejudiced because he would have no opportunity to respond to the MCW Defendants’ new

arguments in their Reply Brief.

       8.      Dr. Love’s filing a sur-reply would not affect any deadlines because the Court has

not yet set a discovery schedule.




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         WHEREFORE, Dr. Love respectfully requests the Court to grant him leave to file the

attached Sur-Reply or, in the alternative, to strike any arguments the MCW Defendants have raised

for the first time in their Reply Memorandum, and to grant any other relief the Court deems just

and equitable under the circumstances.

Dated:         October 14, 2015                     Respectfully submitted,

                                                    /s/ Alexander R. Hess

                                                    Edward F. Ruberry
                                                    Alexander R. Hess
                                                    Alexander W. Ross
                                                    RUBERRY, STALMACK & GARVEY, LLC
                                                    500 West Madison, Suite 2300
                                                    Chicago, Illinois 60661
                                                    Phone: (312) 466-8050
                                                    Fax: (312) 488-8055
                                                    ed.ruberry@rsg-law.com
                                                    alex.hess@rsg-law.com
                                                    alex.ross@rsg.law.com

                                                    Attorneys for Plaintiff




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